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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA

 NICHOLAS DEAN,

      Plaintiff,

 v.                                                      Case No. 3:19-cv-0566-TJC-JRK

 CHARLES EASTERLING, et al.,

    Defendants.
 ____________________________________/

             DEFENDANT ADVANCE LOCAL MEDIA, LLC’s RESPONSE TO
                UNOPPOSED MOTION TO WITHDRAW AS COUNSEL
                       FOR PLAINTIFF NICHOLAS DEAN

        Defendant Advance Local Media, LLC (“Advance Local”) respectfully submits this

Response to the Unopposed Motion to Withdraw as Counsel for Plaintiff Nicholas Dean. See

Dkt. 35.

        As Plaintiff’s counsel correctly noted, Advance Local does not object to the withdrawal

of Plaintiff’s counsel so long as Plaintiff does not seek extension of the Court’s deadlines with

respect to Defendant’s Motion to Dismiss with Prejudice, as outlined in the Court’s December 9,

2019 Endorsed Order, Dkt. 30. Conditioning counsel’s withdrawal on no further delays is

consistent with Local Rule 2.03(c), Rules for the United States District Court for the Middle

District of Florida, which provides that, “nor shall leave be given to withdraw in any other [non-

criminal] case absent compelling ethical considerations, if such withdrawal would likely cause

continuance or delay.”

        The Court has already provided Plaintiff with generous opportunities to cure his failures

to comply with the deadlines provided by the Local Rules and orders of the Court. See Endorsed

Order, Dkt. 26 (Nov. 4, 2019) (informing Plaintiff that he had failed to timely respond to the

pending motions to dismiss and providing an additional month’s time to file a response); see also
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Order to Show Cause, Dkt. 19 (Sept. 30, 2019) (noting that Plaintiff had failed to respond to

Defendant Charles Easterling’s Motion for Katie Schwartzmann to Appear Pro Hac Vice by the

Sept. 27, 2019 deadline and providing an additional 7 days to file a response). 1 The withdrawal

of Plaintiff’s counsel should not become the occasion for further delay in the adjudication of its

Motion to Dismiss with Prejudice.

       Advance Local’s Reply brief in support of its Motion to Dismiss with Prejudice is due no

later than January 6, 2020, and Plaintiff’s Sur-reply, if any, is due no later than January 21, 2020.

Id. That schedule will afford the Plaintiff ample time to proceed in the case pro se or retain new

counsel.

       Advance Local therefore respectfully requests that any order the Court enters permitting

withdrawal of Plaintiff’s counsel provide that, consistent with the Court’s December 9, 2019

Order and the Local Rules, Plaintiff must file any Sur-reply to Advance Local’s forthcoming

Reply, either pro se or through new counsel, no later than January 21, 2020.

 Dated: December 31, 2019                             Respectfully submitted,

                                                      BALLARD SPAHR LLP

                                                      /s/ Charles D. Tobin
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                                                      Media, LLC


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     Plaintiff also failed to comply with the Court’s extended deadline. As the Court noted in a
subsequent Order, Plaintiff’s Motion to Strike Appearance by Counsel, Dkt. 20, was improper.
See Dkt. 21 (Oct. 7, 2019). The Court generously afforded Plaintiff an additional extension of
time in which to file a proper response. When Plaintiff ultimately filed that response, he
withdrew his opposition. See Dkt. 23.

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                                  CERTIFICATE OF SERVICE

       I certify that on December 31, 2019, I filed the foregoing document via the CM/ECF

system, which will distribute a notice of e-filing to all counsel of record in this case.



                                                                /s/ Charles D. Tobin
                                                                    Charles D. Tobin
